          Case 01-01139-AMC         Doc 18713-1     Filed 05/15/08    Page 1 of 3




                              CERTIFICATE OF SERVICE


        I, DEBRA O. FULLEM, do hereby certify that I am over the age of 18 and on
May 15, 2008, I caused a copy of the Certification of No Objection Regarding Docket No. 18592
to be served upon those persons listed below in the manner indicated.

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                                              2
          Case 01-01139-AMC         Doc 18713-1     Filed 05/15/08    Page 3 of 3




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